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                              IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                          Central Division

 STONE WORKS, LLC,                  )
                                    )
                 Plaintiff,         )
                                    )
      v.                            )                            Case No. 4:21-cv-941
                                    )
 RANDY SIMS, MEGAN SIMS, WILLIAM    )
 THOMAS, STONE CONCEPTS, LLC, MARTY )
 HESCH, and EDWARD FRALEY,          )
                                    )
                 Defendants.        )


                                 MOTION FOR PROTECTIVE ORDER



       Defendants Stone Concepts, LLC and Marty Hesch (“Hesch”) move for a Protective Order

pursuant to Fed. R. Civ.Pro. 26(c), for the following reasons:

       1.      The parties have exchanged written discovery and document production and will be

engaged in future discovery including depositions that will require the production of certain

confidential materials.

       2.      The represented parties have agreed that there is a need to preserve the confidentiality

of documents and things exchanged in discovery, such as financial records, proprietary and otherwise

protected business records.

       3.      The parties have conferred and those represented by counsel have agreed to the

attached protective order. They request that it be entered by the Court.

       4.      The pro se parties have been emailed a copy of the attached. Defendant William

Thomas stated that he intends to retain counsel and will not agree to anything until then. The

Defendants Sims have not responded or provided input to the form of the Order.
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      5.     Attached as Exhibit A is the represented Parties proposed Protective Order.

       WHEREFORE, Defendant Marty Hesch requests the Court to enter a Protective Order and

for such other and further relief as the Court deems just and proper.


                                            Respectfully submitted,

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                                            And Stone Concepts, LLC
